Case 8:21-cv-02429-SDM-TGW Document 128 Filed 03/08/22 Page 1 of 3 PageID 8155




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 NAVY SEAL # 1, et al.,

                            Plaintiffs,
                                                       Case No. 8:21-cv-02429-SDM-TGW
       v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                            Defendants.

     DEFENDANTS’ NOTICE REGARDING WITNESSES AND EXHIBITS

       Defendants respectfully provide notice that they do not intend to present

 witnesses or exhibits at the evidentiary hearing on Defendants’ motion to stay

 scheduled for March 10, 2022. ECF No. 122. Defendants rest on materials submitted

 with the government’s stay motion—which include sworn declarations by some of the

 highest-level officers in the Navy and Marine Corps 1—in support of their argument

 that a stay of the Court’s injunction pending appeal is warranted. Cf. Coburn v.

 McHugh, 679 F.3d 924, 929 (D.C. Cir. 2012) (noting the presumption that military



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  Defendants also note that Defendants’ witnesses and declarants reside, are employed,
 and transact business outside of the district and primarily in the Washington, D.C.
 metropolitan area, Hampton Roads, Virginia or Jacksonville, North Carolina. See
 Rule 45(c)(1)(A). Further, many of Defendants’ declarants, including Admiral
 Lescher, are high-ranking officials pursuant to the apex doctrine. See United States v.
 Morgan, 313 U.S. 409 (1941); In re United States, 985 F.2d 510, 512 (11th Cir. 1993)
 (“the Supreme Court has indicated that the practice of calling high officials as
 witnesses should be discouraged.”); see also Eastern District of Virginia Local Rule 45
 (D) (prohibiting subpoenas to anyone of the rank of Admiral or General without
 obtaining leave of Court).
Case 8:21-cv-02429-SDM-TGW Document 128 Filed 03/08/22 Page 2 of 3 PageID 8156




 officers “discharge their duties correctly, lawfully, and in good faith”). Moreover,

 Defendants believe they have, at a minimum, presented a substantial question on the

 merits that together with the balance of equities overwhelmingly justifies an immediate

 stay without the need for a hearing. See Schiavo ex rel. Schindler v. Schiavo, 403 F.3d

 1223, 1232 (11th Cir. 2005); Defs.’ Stay Mot. (ECF No. 118) at 4-9. For this reason,

 Defendants stand on their current record and arguments in support of a stay of the

 injunction pending appeal.

       If the Court regards the Defendants’ record in support of a stay to be inadequate

 or incomplete, as indicated in the Court’s Order of March 2, 2022 (ECF No. 122),

 Defendants recognize that the Court is likely to decline the relief requested. In any

 event, Defendants are presently seeking the requested stay in the Court of Appeals,

 where a similar stay motion has been filed. See Federal Rules of Appellate Procedure

 8(a) (providing that a motion for a stay pending appeal must ordinarily be filed first in

 the district court, but that a motion for such relief may be filed in the Court of Appeals

 which must state that, a motion having been made, the district court either denied the

 motion or failed to afford the requested relief, and stating any reasons given by the

 district court). Defendants also waive oral argument on the motion and, in these

 circumstances, submit there is no need for the March 10 hearing.


 Respectfully submitted,

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Case 8:21-cv-02429-SDM-TGW Document 128 Filed 03/08/22 Page 3 of 3 PageID 8157




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 3/8/2021




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